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                                                                                   FILED
                                                                                   08/09/2021
                            UNITED STATES DISTRICT COURT
                                                                             U.S. DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA                  SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION                        Roger A.G. Sharpe, Clerk



UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
                 V.                         )       CAUSE NO. 1:21-mj-0727
                                            )
NATHAN CANARY,                              )
                                            )
                       Defendant.           )

                                        APPEARANCE

       Comes now, John E. Childress, Acting United States Attorney for the Southern District of

Indiana, by Michelle P. Brady, Assistant United States Attorney for the Southern District of

Indiana, and enters her appearance as counsel for the United States of America.



                                             Respectfully submitted,

                                             JOHN E. CHILDRESS
                                             Acting United States Attorney



                                     By:     /s/ Michelle P. Brady
                                             Michelle P. Brady
                                             Assistant United States Attorney
